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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                               GAINESVILLE DIVISION

   IN RE:
                                                  CHAPTER 7
   Virginia Colwell Brewer,                       CASE NO.: 18-21888-JRS
            Debtor(s).

   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
   _ _                                 _ _
   Nationstar Mortgage LLC d/b/a Mr.
   Cooper,
                            Movant,
   v.

   Virginia Colwell Brewer,
                                                    CONTESTED MATTER
            Debtor(s),
   Betty A. Nappier,
            Trustee,

                              Respondents.

                                   NOTICE OF HEARING

  PLEASE TAKE NOTICE that Nationstar Mortgage LLC d/b/a Mr. Cooper, has filed a
  Motion for Relief from the Automatic Stay and related papers with the Court seeking an
  order granting relief from the automatic stay.

  PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the motion
  in Courtroom 103 at U.S. Courthouse, 121 Spring Street, SE, Gainesville, GA 30501, at
  1:00 p.m. on November 29, 2018.

  Your rights may be affected by the Court’s ruling on these pleadings. You should read
  these pleadings carefully and discuss them with your attorney, if you have one in this
  bankruptcy case. (If you do not have an attorney, you may wish to consult one.) If you do
  not want the court to grant the relief sought in these pleadings or if you want the court to
  consider your views, then you and/or your attorney must attend the hearing. You may
  also file a written response to the pleading with the Clerk at the address stated below, but
  you are not required to do so. If you file a written response, you must attach a certificate
  stating when, how, and on whom (including addresses) you served the response. Mail or
  deliver your response so that it is received by the Clerk at least two business days before
  the hearing. The address of the Clerk’s Office is: Clerk, U.S. Bankruptcy Court, 121
  Spring Street, SE, Gainesville, GA 30501. You must also mail a copy of your response
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  to the undersigned at the address stated below.

  If a hearing on the motion for relief from the automatic stay cannot be held within thirty
  (30) days, Movant waives the requirement for holding a preliminary hearing within thirty
  days of filing the motion and agrees to a hearing on the earliest possible date. If a final
  decision cannot be rendered by the Court within sixty (60) days of the date of the request,
  Movant waives the requirement that the final decision be issued within that period.
  Movant consents to the automatic stay remaining in effect until the Court orders
  otherwise.

  Date: October 30, 2018

                                               RAS Crane LLC

                                               /s/ Andrea L. Betts
                                               Andrea L. Betts
                                               Attorney for Creditor
                                               Georgia Bar # 432863
                                               RAS Crane LLC
                                               10700 Abbott's Bridge Road
                                               Suite 170
                                               Duluth, GA 30097
                                               Telephone: 470-321-7112
                                               Fax: 404-393-1425
                                               Email: abetts@rascrane.com
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                               GAINESVILLE DIVISION

   IN RE:
                                                   CHAPTER 7
   Virginia Colwell Brewer,                        CASE NO.: 18-21888-JRS
            Debtor(s).

   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
   _ _                                 _ _
   Nationstar Mortgage LLC d/b/a Mr.
   Cooper,
                            Movant,
   v.

   Virginia Colwell Brewer,
                                                     CONTESTED MATTER
            Debtor(s),
   Betty A. Nappier,
            Trustee,

                              Respondents.

                  MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW, Nationstar Mortgage LLC d/b/a Mr. Cooper, (hereinafter referred

  to as “Movant”), by and through its undersigned counsel, moves for relief from the

  automatic stay and alleges as follows:

                                              1.

         The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, FRBP

  4001(a), and the various other applicable provisions of the United States Bankruptcy

  Code, Federal Rules of Bankruptcy Procedure, and the laws of the United States of

  America.

                                              2.

         Virginia Colwell Brewer, (hereinafter referred to as “Debtor(s)”), filed a petition
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  for relief under Chapter 7 of the Bankruptcy Code on September 26, 2018.

                                                3.

         Movant is the holder or servicer of a loan secured by certain real property in

  which the Debtor(s) have an interest. Movant holds a security interest in the Debtor’s

  real property now or formerly known as 2499 Fortson Rd, Fortson, Georgia 31808

  (hereinafter referred to as “Property”) by virtue of a Security Deed dated March 22, 2004.

  Said Security Deed secures a Note in the original principal amount of $150,000.00. The

  promissory note has been duly endorsed. Attached are redacted copies of any documents

  that support the claim, such as promissory notes, purchase orders, invoices, itemized

  statements of running accounts, contracts, judgements, mortgages, and security

  agreements in support of right to see a lift of the automatic stay and foreclose if

  necessary.

                                                4.

         Movant alleges that the Debtor(s) are in default to Movant under the terms of the

  loan documents, having failed to make certain mortgage payments that have come due.

  As of October3, 2018, the arrearage owed to Movant is $18,287.02 and consists of seven

  (7) monthly mortgage payments at $1,309.81 (P&I $875.36; ESCROW $434.45) and

  seven (7) monthly mortgage payments at 1,399.89 (P&I $875.36; ESCROW $524.53)

  less a suspense balance of $680.88. An additional payment will come due November 1,

  2018 and on the first day of each month thereafter until the loan is paid in full. Per the

  Statement of Intentions, the Property is to be surrendered.

                                                5.

         The current unpaid principal balance due under the loan documents is

  approximately $111,283.54. The Property is most recently valued at $248,956.00 by the
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  Harris County Tax Assessor’s Office.

                                               6.

         Movant’s security interest in the Property is not adequately protected due to the

  Debtor(s) failure to maintain the mortgage payments.

                                               7.

         Movant has incurred attorney’s fees and costs as a result of filing this motion.

  These fees and costs are recoverable pursuant to the loan documents, and Movant seeks

  leave to recover these fees and costs under the remedies available therein.

                                               8.

         Pursuant to 11 U.S.C. § 362, Movant alleges that sufficient cause, including lack

  of adequate protection, exists for the automatic stay to be terminated.



         WHEREFORE, Movant respectfully prays to the Court as follows:

                 (a) That the automatic stay under 11 U.S.C. § 362 be modified to allow

                         Movant to pursue state remedies to protect its security interest in

                         the Property, including, but not limited to, advertising to effectuate

                         a foreclosure sale and gaining possession of the Property; to

                         contact the Debtor via telephone or written correspondence to

                         discuss potential loan workout or loss mitigation opportunities; and

                         to perform property preservation as appropriate;

                 (b) That Movant's attorney's fees and costs incurred in filing and

                         prosecuting this Motion be recoverable as pursuant to the loan

                         documents and remedies available therein;
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               (c) That the fourteen (14) day stay of Bankruptcy Rule 4001(a)(3) be

                       waived;

                (d) That Movant be permitted to offer and provide Debtor(s) with

                       information regarding a potential forbearance agreement, loan

                       modification, refinance agreement, or other loan workout/loss

                       mitigation agreement, and to enter into such an agreement with

                       Debtor(s).

               (e) For such other and further relief the Court deems just and proper.




  Date: October 30, 2018
                                             RAS Crane LLC

                                             /s/ Andrea L. Betts
                                             Andrea L. Betts
                                             Attorney for Creditor
                                             Georgia Bar # 432863
                                             RAS Crane LLC
                                             10700 Abbott's Bridge Road
                                             Suite 170
                                             Duluth, GA 30097
                                             Telephone: 470-321-7112
                                             Fax: 404-393-1425
                                             Email: abetts@rascrane.com
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                                CERTIFICATE OF SERVICE

         I, certify that I am over the age of 18 and that on October 30, 2018, I served a

  copy of the foregoing Notice of Hearing and Motion for Relief from Automatic Stay was

  served by electronic mail or by first class U.S. Mail, with adequate postage prepaid on the

  following persons or entities at the addresses stated:


  Virginia Colwell Brewer
  403 Breeze Way
  Winder, GA 30680

  J. Keith Cornwell
  Cornwell Law Firm, LLC
  Suite 400
  2180 Satellite Blvd.
  Duluth, GA 30097

  Betty A. Nappier
  Law Office of B. A. Nappier
  P. O. Box 1649
  Cumming, GA 30028-1649

  Office of the United States Trustee
  362 Richard Russell Building
  75 Ted Turner Drive, SW
  Atlanta, GA 30303

  Date: October 30, 2018
                                                RAS Crane LLC

                                                /s/ Andrea L. Betts
                                                Andrea L. Betts
                                                Attorney for Creditor
                                                Georgia Bar # 432863
                                                RAS Crane LLC
                                                10700 Abbott's Bridge Road
                                                Suite 170
                                                Duluth, GA 30097
                                                Telephone: 470-321-7112
                                                Fax: 404-393-1425
                                                Email: abetts@rascrane.com
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     Summary
        Parcel Number              046 041 001
        Location Address           2499 FORTSON RD
        Legal Description          DIST 19 LL 154 & 155 PARCEL 2
                                   (Note: Not to be used on legal documents)
        Class                      A5-Agricultural
                                   (Note: This is for tax purposes only. Not to be used for zoning.)
        Tax District               County (District 1)
        Millage Rate               24.7
        Acres                      10.79
        Homestead Exemption        No (S0)
        Landlot/District           154 / 19

        View Map




     Owner
        BREWER VIRGINIA L & CLIFFORD A
        2499 FORTSON ROAD
        FORTSON, GA 31808

     Rural Land
         Type               Description                         Calculation Method                                  Soil Productivity                         Acres
         RUR                Homesites                           Rural                                               1                                         2
         RUR                Woodlands                           Rural                                               8                                         8.79


     Residential Improvement Information
        Style                             One Family
        Heated Square Feet                2668
        Interior Walls                    Sheetrock
        Exterior Walls                    Wood
        Foundation                        Slab
        Attic Square Feet                 0 
        Basement Square Feet              0 
        Year Built                        1987
        Roof Type                         Asphalt Shingles
        Flooring Type                     Carpet/Hardwood
        Heating Type                      Central Heat/AC
        Number Of Rooms                   7
        Number Of Bedrooms                3
        Number Of Full Bathrooms          3
        Number Of Half Bathrooms          1
        Number Of Plumbing Extras         9
        Value                             $185,385
        Condition                         Good
        Fireplaces\Appliances             Const 2 sty 1 Box 1
                                          Oven-Range 1
                                          Dishwasher 1


     Accessory Information
         Description                                                     Year Built             Dimensions/Units                        Identical Units           Value
         Sanitation Fee                                                  2010                   0x0 / 0                                 1                         $0
         Paving-Asph.(G) 3" 500-1000                                     1987                   30x24 / 0                               1                         $305
         Paving-Asph.(J) 3" >10000                                       1987                   9x1141 / 0                              1                         $2,054
         Patio < 500                                                     1987                   9x20 / 0                                1                         $148


     Sales
         Sale Date        Deed Book / Page         Plat Book / Page             Sale Price Reason         Grantor                   Grantee
         3/22/2004        0724 0472                028 049                            $0 Gift             BREWER VIRGINIA L         BREWER VIRGINIA L & CLIFFORD A




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     Valuation
                                                                           2018               2017                2016                  2015
                 Previous Value                                         $248,956           $249,022            $249,022           $249,022
                 Land Value                                              $61,064            $61,064             $61,064            $61,064
             +   Improvement Value                                      $185,385           $185,385            $183,196           $183,196
             +   Accessory Value                                          $2,507             $2,507              $4,762             $4,762
             =   Current Value                                          $248,956           $248,956            $249,022           $249,022


     Photos




     Sketches




https://qpublic.schneidercorp.com/Application.aspx?AppID=700&LayerID=11408&PageTypeID=4&PageID=4860&Q=2058074001&KeyValue=046+041+001          2/3
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